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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------X
 STEPHANIE THOMPSON, on behalf of herself and all
 others similarly situated,

                                    Plaintiff,                          Case No. 20-CV-651(MKB)(SJB)
                      - against -

 GLOBAL CONTACT SERVICES, LLC, EUGENE
 OHEMENG, FRANK CAMP, ANTOINETTE CURRIE,
 and JAMIE HOFFMAN,

                                     Defendants.
 -------------------------------------------------------------------X

                         THE GCS DEFENDANTS’ NOTICE OF MOTION
                            FOR PARTIAL SUMMARY JUDGMENT


         PLEASE TAKE NOTICE THAT, defendants Global Contact Services, LLC (“GCS”),

 Frank Camp, Antoinette Currie, and Jamie Hoffman (collectively, the “GCS Defendants”), upon

 the accompanying GCS Defendants’ Memorandum of Law in Support of Its Motion for Partial

 Summary Judgment, GCS Defendants’ Statement of Undisputed Material Facts Pursuant to Local

 Rule 56.1, and the Declaration of Frank Camp, and the exhibit attached thereto, and upon all of

 the pleadings and proceedings herein, will move this Court before the Honorable Margo K. Brodie

 at the U.S. District Court for the Eastern District of New York, 225 Cadman Plaza East, Brooklyn,

 New York, 11201 on a date and at a time to be designated by the Court, for an order: (1) granting

 the GCS Defendants’ summary judgment motion and dismissing Plaintiff’s First Cause of Action

 in its entirety; and (2) granting such other and further relief as the Court deems appropriate,

 including the GCS Defendants’ fees and costs.
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 Dated: New York, New York
        December 7, 2020
                                          Respectfully submitted,

                                          OGLETREE, DEAKINS, NASH,
                                          SMOAK & STEWART, P.C.

                                          By s/ Aaron Warshaw
                                               Aaron Warshaw
                                               Jessica Schild
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                                          Attorneys for Defendants
                                           Global Contact Services, LLC, Frank
                                           Camp, Antoinette Currie, and Jamie
                                           Hoffman
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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on December 7, 2020, I served true and correct copies of the foregoing

 GCS Defendants’ Notice of Motion for Partial Summary Judgment; GCS Defendants’

 Memorandum of Law in Opposition to Plaintiff’s Motion for Conditional Collective Certification

 and In Support of Its Motion for Partial Summary Judgment; GCS Defendants’ Statement of

 Undisputed Material Facts Pursuant to Local Rule 56.1; and the Declaration of Frank Camp, and

 the exhibits attached thereto, via email upon the following:

                                       C.K. Lee, Esq.
                                       Tenzin Tashi, Esq.
                                       LEE LITIGATION GROUP, PLLC
                                       148 West 24th Street, 8th Floor
                                       New York, NY 10011
                                       cklee@leelitigation.com

                                       Attorney for Plaintiff


                                              By: /s Aaron Warshaw
                                                  Aaron Warshaw
